     Case 3:23-cv-03417-VC         Document 273         Filed 11/12/24   Page 1 of 6



 1   COOLEY LLP
     BOBBY GHAJAR (198719)
 2   (bghajar@cooley.com)
     COLETTE GHAZARIAN (322235)
 3   (cghazarian@cooley.com)
     1333 2nd Street, Suite 400
 4   Santa Monica, California 90401
     Telephone:    (310) 883-6400
 5
     MARK WEINSTEIN (193043)
     (mweinstein@cooley.com)
 6
     KATHLEEN HARTNETT (314267)
     (khartnett@cooley.com)
 7
     JUDD LAUTER (290945)
     (jlauter@cooley.com)
 8
     ELIZABETH L. STAMESHKIN (260865)
     (lstameshkin@cooley.com)
 9
     3175 Hanover Street
     Palo Alto, CA 94304-1130
10
     Telephone:    (650) 843-5000
11
     CLEARY GOTTLIEB STEEN & HAMILTON LLP
     ANGELA L. DUNNING (212047)
12
     (adunning@cgsh.com)
     1841 Page Mill Road, Suite 250
13
     Palo Alto, CA 94304
     Telephone: (650) 815-4131
14
     Counsel for Defendant Meta Platforms, Inc.
15
                                UNITED STATES DISTRICT COURT
16

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                   SAN FRANCISCO DIVISION

19   RICHARD KADREY, et al.,                             Case No. 3:23-cv-03417-VC

20      Individual and Representative Plaintiffs,        STIPULATION AND [PROPOSED] ORDER RE
                                                         SCHEDULING OF DEPOSITION
21          v.

22   META PLATFORMS, INC., a Delaware
     corporation;
23
                                     Defendant.
24

25

26

27

28
                                                                              STIP. AND [PROP] ORDER
                                                    1                                  RE DEPOSITION
                                                                           CASE NO. 3:23-CV-03417-VC
      Case 3:23-cv-03417-VC          Document 273          Filed 11/12/24     Page 2 of 6



 1          Pursuant to Civ. L.R. 6-2 and 7-12, Plaintiffs Richard Kadrey, Sarah Silverman, Christopher

 2   Golden, Jacqueline Woodson, Andrew Sean Greer, Rachel Louise Snyder, David Henry Hwang,

 3   Ta-Nehisi Coates, Laura Lippman, Matthew Klam, Junot Díaz, Lysa Terkeurst and Christopher

 4   Farnsworth (“Plaintiffs”); and Defendant Meta Platforms, Inc. (“Defendant”) (collectively, the

 5   “Parties”) by and through their respective counsel stipulate to the following:

 6          WHEREAS, the Court entered an Order extending the discovery deadline until December

 7   13, 2024, ECF No. 211;

 8          WHEREAS, to accommodate the schedule of Meta CEO Mark Zuckerberg and avoid

 9   submitting a scheduling dispute to the Court for resolution, the Parties agreed to seek leave of Court

10   to take Mr. Zuckerberg’s deposition on Tuesday, December 17, 2024—four days after the Court’s

11   December 13, 2024 fact discovery deadline;

12          WHEREAS, there has only been one extension of the fact discovery deadline requested and

13   entered in this case, which was the Court’s Order setting the December 13, 2024 fact discovery

14   deadline, ECF No. 211;

15          NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and through

16   Plaintiffs and Defendant, as represented by their undersigned counsel and subject to the approval

17   of the Court, that the deposition of Mr. Zuckerberg may occur on Tuesday, December 17, 2024,

18   after the close of fact discovery. No other deadlines are modified by this stipulation.

19

20

21

22

23

24

25

26

27

28
                                                                                   STIP. AND [PROP] ORDER
                                                       1                                    RE DEPOSITION
                                                                                CASE NO. 3:23-CV-03417-VC
     Case 3:23-cv-03417-VC        Document 273       Filed 11/12/24   Page 3 of 6



 1   Dated: November 12, 2024
                                           Respectfully Submitted,
 2
     By: /s/ Bobby Ghajar                  By: /s/ Maxwell V. Pritt
 3

 4   Bobby A. Ghajar                       David Boies (pro hac vice)
     Colette Ani Ghazarian                 David L. Simons (pro hac vice)
 5   COOLEY LLP                            BOIES SCHILLER FLEXNER LLP
     1333 2nd Street, Suite 400            55 Hudson Yards, 20th Floor
 6   Santa Monica, CA 90401                New York, NY 10001
     Telephone: (310) 883-6400             (914) 749-8200
 7
     Facsimile: (310) 883-6500             dboies@bsfllp.com
 8   Email: bghajar@cooley.com             dsimons@bsfllp.com
     cghazarian@cooley.com
 9                                         Maxwell V. Pritt (SBN 253155)
     Mark R. Weinstein                     Joshua I. Schiller (SBN 330653)
10   Elizabeth Lee Stameshkin              Joshua M. Stein (SBN 298856)
11   COOLEY LLP                            44 Montgomery Street, 41st Floor
     3175 Hanover Street                   San Francisco, CA 94104
12   Palo Alto, CA 94304                   (415) 293-6800
     Telephone: 650-843-5000               mpritt@bsfllp.com
13   Facsimile: 650-849-7400               jischiller@bsfllp.com
     Email: mweinstein@cooley.com          jstein@bsfllp.com
14   Email: lstameshkin@cooley.com
15                                         Jesse Panuccio (pro hac vice)
     Kathleen R. Hartnett                  1401 New York Ave, NW
16   Judd D. Lauter                        Washington, DC 20005
     COOLEY LLP                            (202) 237-2727
17   3 Embarcadero Center, 20th Floor      jpanuccio@bsfllp.com
     San Francisco, CA 94111-4004
18   Telephone: (415) 693-2071             Joseph R. Saveri (State Bar No. 130064)
19   Facsimile: (415) 693-2222             Cadio Zirpoli (State Bar No. 179108)
     Email: khartnett@cooley.com           Christopher K.L. Young (State Bar No. 318371)
20                                         Holden Benon (State Bar No. 325847)
     Angela Dunning                        Aaron Cera (State Bar No. 351163)
21   CLEARY GOTTLIEB STEEN &               JOSEPH SAVERI LAW FIRM, LLP
     HAMILTON LLP                          601 California Street, Suite 1505
22
     1841 Page Mill Road, Suite 250        San Francisco, California 94108
23   Palo Alto, CA 94304-1248              Telephone: (415) 500-6800
     Telephone: (650) 815-4131             Facsimile: (415) 395-9940
24   Email: adunning@cgsh.com              Email: jsaveri@saverilawfirm.com
                                           czirpoli@saverilawfirm.com
25   Attorneys for Defendant
                                           cyoung@saverilawfirm.com
26   META PLATFORMS, INC.                  hbenon@saverilawfirm.com
                                           acera@saverilawfirm.com
27

28
                                                                           STIP. AND [PROP] ORDER
                                                 2                                  RE DEPOSITION
                                                                        CASE NO. 3:23-CV-03417-VC
     Case 3:23-cv-03417-VC   Document 273       Filed 11/12/24   Page 4 of 6



 1                                    Amy Keller (pro hac vice)
                                      James A. Ulwick (pro hac vice)
 2                                    Nada Djordjevic (pro hac vice)
 3                                    DICELLO LEVITT LLP
                                      10 North Dearborn St., Sixth Floor
 4                                    Chicago, Illinois 60602
                                      Telephone: (312) 214-7900
 5                                    akeller@dicellolevitt.com
                                      julwick@dicellolevitt.com
 6                                    ndjordjevic@dicellolevitt.com
 7
                                      David A. Straite (pro hac vice)
 8                                    DICELLO LEVITT LLP
                                      485 Lexington Ave., Suite 1000
 9                                    New York, NY 10017
                                      Telephone: (646) 933-1000
10
                                      dstraite@dicellolevitt.com
11
                                      Matthew Butterick (State Bar No. 250953)
12                                    1920 Hillhurst Avenue, 406
                                      Los Angeles, CA 90027
13                                    Telephone: (323) 968-2632
                                      Facsimile: (415) 395-9940
14
                                      Email: mb@buttericklaw.com
15
                                      Bryan L. Clobes (pro hac vice)
16                                    Alexander J. Sweatman (pro hac vice anticipated)
                                      CAFFERTY CLOBES MERIWETHER
17                                    & SPRENGEL LLP
                                      135 South LaSalle Street, Suite 3210
18
                                      Chicago, IL 60603
19                                    Telephone: (215) 864-2800
                                      Email: bclobes@caffertyclobes.com
20                                    asweatman@caffertyclobes.com
21                                    Daniel Jerome Muller
22                                    VENTURA HERSEY & MULLER, LLP
                                      1506 Hamilton Avenue
23                                    San Jose, CA 95125
                                      Telephone: (408) 512-3022
24                                    Facsimile: (408) 512-3023
                                      Email: dmuller@venturahersey.com
25
                                      Counsel for Individual and Representative
26
                                      Plaintiffs and the Proposed Class
27

28
                                                                      STIP. AND [PROP] ORDER
                                            3                                  RE DEPOSITION
                                                                   CASE NO. 3:23-CV-03417-VC
     Case 3:23-cv-03417-VC      Document 273        Filed 11/12/24    Page 5 of 6



 1                                    PROPOSED ORDER

 2        Pursuant to stipulation of the Parties, IT IS SO ORDERED.

 3

 4
     DATED: __________________
 5                                           HON. VINCE CHHABRIA
 6                                           United States District Judge

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                           STIP. AND [PROP] ORDER
                                                4                                   RE DEPOSITION
                                                                        CASE NO. 3:23-CV-03417-VC
     Case 3:23-cv-03417-VC          Document 273             Filed 11/12/24   Page 6 of 6



 1                                         ECF ATTESTATION

 2          Pursuant to Local Rule 5-1(i)(3), I hereby attest that counsel for Plaintiffs concurs in the

 3   filing of this document.

 4

 5                                                 /s/        Bobby Ghajar
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                   STIP. AND [PROP] ORDER
                                                         5                                  RE DEPOSITION
                                                                                CASE NO. 3:23-CV-03417-VC
